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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

UNITED STATES OF AMERICA, CASE NUMBER
PLAINTIFF
V. CR 02-024l-TJH

 

 

Trayvonne Terrel Adams

ORDER OF TEMPORARY DETENTION
PENDING HEARING PURSUANT

 

 

 

 

DEFENDANT(s). TO BAIL REFORM ACT
_ %ellM \\\aw" _
Upon m0t10n of D€fe“da“t . IT IS ORDERED that a detention hearlng
is set for Februarv 24. 2015 . . at 10:00 IZ.Ia.m. / l:lp.m. before the
Honorable Jean P. Rosenbluth . in Courtroom 827-A

 

 

Pending this hearing, the defendant shall be held in custody by the United States Marshal or
and produced for the hearing

 

(Other custodial ojj’icer)

Dated; //LO//S h/M/ %QM

U.S. D{StriCT'JUdge/Magistrate Judge /

 

ORDER OF TEMPORARY DETENTION PEND[NG HEARlNG PURSUANT TO BAIL REFORM ACT
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